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                     UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


MAMADOU ALPHA BAH,
     Plaintiff,

                                             C.A. No. 17-12542-MLW


ENTERPRISE RENT-A-CAR COMPANY
OF BOSTON, LLC, and
ENTERPRISE HOLDINGS, INC.,
     Defendants.


                          MEMORANDUM    & ORDER


WOLF, D.J.                                              October 24, 2023

I.   SUMMARY


     Plaintiff Mamadou Alpha Bah was an assistant branch manager

for Enterprise Rent-A-Car Company of Boston, LLC ("ERAC Boston").

He has brought individual and collective claims against defendants

ERAC Boston and Enterprise Holdings, Inc. ("EHI") under the Fair

Labor Standards    Act of 1938 ("FLSA"), 29 U.S.C. §201, et seg,

alleging that the defendants violated the FLSA when they failed to

pay overtime to assistant branch managers until November 27, 2016.

On June 28, 2022, the court conditionally certified a nationwide

collective and authorized Bah to issue notice to putative class

members. Mem. & Order (Dkt. No. 161).

     The FLSA imposes a two-year statute of limitations generally,

and a three-year statute of limitations if a defendant's violation

of the FLSA was willful. 29 U.S.C. §255(a). In an FLSA collective

action,   the   limitations   period   continues   to   run   against   each
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individual plaintiff until that plaintiff files a written opt-in

consent.    29   U.S.C. §256(b); 29 C.F.R. §790.21(b)(2)(II).             Here,

using     the    most   generous     possible    three-year    statute      of

limitations, the limitations period ran on January 1, 2020.^ That

is 954 to 1027 days before the putative plaintiffs filed their

opt-in consent forms.

        For their claims to survive, the putative opt-in plaintiffs

must persuade the court to apply equitable tolling, a doctrine

that "extends statutory deadlines in extraordinary circumstances

for parties who were prevented from complying with them through no

fault or lack of diligence of their own." Neves v. Holder, 613

F.3d 30, 36 (1st Cir. 2010). It is a rare remedy that courts are

to apply sparingly. Abraham v. Woods Hole Oceanographic Inst., 553

F.3d 114, 119 (1st Cir. 2009).

     In general, equitable tolling requires a court to perform an

individualized "'fact intensive' inquiry." Holland v. Fla., 130 S.




1    An FLSA cause of action accrues on a payday-by-payday basis.
See 29 C.F.R. §790.21(b). The court has determined that "it appears
that the last paycheck that allegedly violated [the FLSA] was
provided to assistant branch managers on December 2, 2016." Order
(Dkt. No. 103). The longest possible statute of limitations for
FLSA claims is three years. 29 U.S.C. §255(a). That would make the
statute of limitations deadline December 2, 2019. The court tolled
30 days at the beginning of the case. Jan. 10, 2018 Order (Dkt.
No. 13). Therefore, the correct statute of limitations deadline is
January 1, 2020.
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Ct. 2549, 2565 (2010). Accordingly, on June 28, 2022, this court

ordered that:


      After putative opt-in plaintiffs are identified, the
      court will decide individually whether the doctrine of
      equitable tolling operates to permit each to maintain
      his or her claim despite the usual two-year or three-
      year statute of limitations. . . . Any person wishing to
      opt-in shall . , submit an opt-in consent form, and
      provide affidavits and evidence supporting his or her
      contention   that:   (a)   there    were   extraordinary
      circumstances that prevented him or her from pursuing
      his or her claim before either or both statutory
      deadlines; and (b) he or she was reasonably diligent in
      pursuing his or her rights.

Mem, & Order (Dkt. No. 161).

      For   the     reasons   described    below,   the   declarations do      not

provide     facts    sufficient    to     prove   that    any    putative   opt-in

plaintiff was reasonably diligent or that there were extraordinary

circumstances preventing him or her from asserting his or her claim

in a timely manner. Bah's argument that the court should take a

categorical       approach    to equitable    tolling     that    disregards   the

individual facts of the putative plaintiffs is unpersuasive, at

least in the circumstances of this case.


II.   THE APPLICABLE STANDARDS


      To receive the benefit of equitable tolling, a plaintiff bears

the burden of demonstrating that he has satisfied two required

elements: "(1) that he has been pursuing his rights diligently,

and (2) that some extraordinary circumstance stood in his way."

Neves, 613 F.3d at 36 (quoting Pace v. DiGuqlielmo, 125 S.Ct. 1807
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(2005)).      These    "two   components"    are       essential     elements,     "not

merely       factors    of    indeterminate       or     commensurable      weight."

Menominee Indian Tribe of Wisconsin v. United States, 136 S. Ct.

750, 756 (2016).        In addition, the First Circuit has identified

five criteria         that courts may consider "as factors within the

Supreme Court's two-part standard:"

       (1) a lack of actual notice of a time limit; (2) a lack
       of constructive notice of a time limit; (3) diligence in
       the pursuit of one's rights; (4) an absence of prejudice
       to   a   party  opponent;   and   (5)   the   claimant's
       reasonableness in remaining ignorant of the time limit.

Neves, 613 F.3d at 36 n.5.

       Equitable telling's "diligence prong" covers "affairs within

the litigant's control." Menominee, 136 S. Ct. at 756. A putative

plaintiff's      knowledge     of   the   facts    supporting        his   claim   and

subsequent failure to act indicate that the plaintiff has not been

diligent. Sandoz v. Cinqular Wireless, L.L.C., 700 Fed. App'x.

317, 321 (5th Cir. 2017); Wanshen Li v. MW S. Station, Inc., No.

CV 15-12961-FDS, 2017 WL 2407256, at *7 (D. Mass. June 2, 2017).

       The    "extraordinary-circumstances             prong"   of   the   equitable

tolling test covers "matters outside                   [a litigant's] control."

Menominee, 136 S. Ct. at 756. One such basis for equitable tolling

is a plaintiff's "excusable ignorance" of his statutory rights.

Kale   V. Combined Ins. Co. of Am., 861                 F.2d 746, 752 (1st Cir.

1988). Excusable ignorance does not apply any time a plaintiff is

subjectively unaware of his rights. Id. Rather, it is reserved for
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situations    when    outside    circumstances,     such     as the      employer's

misconduct    or     failure    to   post   required       notices,   caused   the

plaintiff's ignorance. Id. Excusable neglect does not obviate the

diligence    requirement.      In    deciding    whether    to   order   equitable

tolling, a "court should also assess any countervailing equities

against the plaintiff. For example, did he diligently pursue his

claim . . .." Id. at 753.


     A court deciding whether a plaintiff's ignorance is excusable

"should   initially     determine      whether    the   plaintiff     had   either

actual" knowledge - that is, whether he had learned or been told

of his rights - or "constructive knowledge" - that is, knowledge

that can be attributed to him because, for example, his employer

posted required notices. Id. at 752-53. In the context of the Age

Discrimination in Employment Act of 1967 ("ADEA"), 29 U.S.C. §621,

et seq, the First Circuit has stated that the plaintiff need only

be aware that the defendant's conduct is proscribed by statute

for example, that older workers are protected from discrimination

and need not be aware of "all the filing periods and technicalities

contained in the law." Id. at 754. In Gonpo v. Sonam's Stonewalls

& Art, LLC, No. 3:16-CV-40138-MGM, 2017 WL 9673710 (D. Mass. Dec.

14, 2017) (Robertson, M.J.), report and recommendation adopted in

relevant part, rejected in part. No. CV 16-40138-MGM, 2018 WL

1725695 (D.    Mass. Apr.       9, 2018) (Mastroianni,           J.), the court

considered excusable neglect as a ground for equitable tolling in
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 an FLSA case. Id. at *14. The court determined that the plaintiffs

 had not, as Kale requires, established that they lacked actual and

 constructive     notice.    Id.   at   *13-14.    More   specifically,    their

 affidavits did not state that their employer had failed to post

 required FLSA notice in the workplace. Id. at *14. This court finds

 Gonpo to be correctly reasoned.

III.     BAH'S ARGUMENT


         Here, 1,475 putative plaintiffs filed opt-in consent forms.

 1,192 filed declarations concerning their grounds for equitable

 tolling.

         Bah now argues that rather than performing an individualized

 inquiry into whether the facts represented in the declarations

 demonstrate that the putative plaintiffs acted with diligence and

 faced    extraordinary     circumstances,    as    the    court   indicated   it

 intended to do, the court should perform a categorical analysis.

 Bah argues that the requisite diligence is that of the named

 plaintiff and his counsel, not the putative plaintiffs. He further

 contends that the passage of time between filing the motion for

 conditional certification and issuance of notice (the "Motion for

 Notice"), and the court authorizing              notice to be sent, is an

 extraordinary circumstance that warrants equitable tolling for

 every    putative    plaintiff.    Bah   argues    that    this   approach    is

 justified because the FLSA is complicated, and its class action
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procedure,, which is also employed in ADEA cases, see Hoffmann-La

Roche Inc. v. Sperling, 110 S. Ct. 482, 486 (1989),            is unique.

IV.     DISCUSSION


A. The Individualized Inquiry.

        The putative plaintiffs' declarations do not prove that their

unique facts constitute the requisite diligence or extraordinary

circumstances to justify equitable tolling. In this case, 1,192 of

the 1,475 putative plaintiffs filed declarations stating their

grounds for equitable tolling.

        The court does not find equitable tolling to be justified for

the 285 putative plaintiffs who did not file declarations. The

court ordered them to do so. June 28, 2022, Mem. & Order (Dkt. No.

161). They failed to comply. There is no factual basis for a

finding of equitable tolling concerning them.

      The majority of the putative plaintiffs - 1,186 - filed what

the parties call "Template Declarations," evidently drafted by

Bah's counsel, that present identical grounds for tolling. The

court has considered the declarations of Kyle Kwoka and Caroline

Lopez, who the parties agreed are representative of the putative

plaintiffs      who    filed   Template    Declarations.     Each    Template

Declaration states that the putative plaintiff was not aware of

his or her potential claims or this case. See e.g., Kwoka Decl.

(Dkt.    No.   186-1   at   594).   They   say   nothing   else.    The   court

interprets the Template Declarations to, at best, be an effort to
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support an argument for excusable neglect. However, the Template

Declarations     do    not   indicate      that   the   defendants     misled   the


putative plaintiffs or failed to post required notices. Moreover,

as explained earlier, excusable neglect does not eliminate the

requirement that a putative plaintiff be reasonably diligent. See

Menominee, 136 S. Ct. at 756; Neves, 613 F.3d at 36. The Template

Declarations     are   silent      as to    diligence.     They   do   not justify

equitable tolling for the 1,186 putative opt-in plaintiffs who

filed them.


        Six of the putative plaintiffs submitted unique declarations.

Bah failed to obey the order to address in his memorandum why each

of these declarations justify equitable tolling. Therefore, the

court     may   consider     the    argument      waived    and   disregard     the

declarations. United States v. Zannino, 895 F.2d 1, 17 (1st Cir.

1990); DiGiovanni v. Jani-King Intern., Inc., 968 F. Supp. 2d 447,

450 (D. Mass. 2013). Moreover, the fact that these declarations

are   unique    does   not   mean    that    they   provide   more     information

supportive of equitable tolling than the Template Declarations.

Indeed, Bah agreed that they are not materially different than the

Template Declarations, and that if the Template Declarations were

insufficient, then so too were the unique declarations. See Oct.

12, 2023 Tr. at 27:23-28:2.
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       Traci Dowd's declaration (Dkt. No. 186-1 at 291), contains

even less information than the Template Declarations. The most

detailed declaration is from Joy Epps, who states:

       I was paid base salary, plus a bonus, based on how the
       branch did for that month. I was not paid any time and a
       half, as each week I worked 50-60 hours weekly. I didn't
       file a claim before the dates mentioned in the letter,
       12/2/2018 or 12/2/2019 because I was under the assumption
       per our HR department and leadership at the time that we
       were base salary plus bonus employees.

Epps    Decl.    (Dkt.    No.    186-1   at    331).   This   information       is

insufficient to prove either the required diligence or excusable

neglect. Epps' statements do not show that she lacked constructive

notice because the defendants failed to post required notices. Cf.

Kale, 861 F.2d at 752 (noting that "there may be a valid claim for

equitable tolling" when an employer fails to conspicuously post

legally required notices). Moreover, the defendants submitted an

affidavit stating that there was a practice of posting required

FLSA notices at the location where Epps worked, Bennett Decl. (Dkt.

No.    199-4),   and   filed     comparable    declarations      concerning    the

posting of FLSA notice at the locations where Kwoka, Lopez, and

each of the other assistant branch managers with individualized

declarations worked. Further, Epps's declaration does not state

that she lacked actual notice because the defendants misled                   her.


She    instead   states   that    HR   and   leadership   told    her   how   they

compensated her position. That is an accurate factual statement.

Statements that "simply inform the Plaintiffs of facts that might
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give rise to their claims" are not misleading employer conduct.

Viciedo v. New Horizons Computer Learning Ctr., 246 F. Supp. 2d

886, 904     (S.D. Ohio 2003). In any event, the fact that Epps'

declaration      does     not    provide      any    information         concerning     her

diligence is fatal to her request for equitable tolling. Therefore,

the    six    individual             declarations,         including       Epps's,      are

insufficient to justify equitable tolling.

V.    THE CATEGORICAL THEORY


      Under   the    existing         jurisprudence,        the    equitable      tolling

inquiry    could    end    here.       However,      the    court    is    nevertheless

addressing Bah's argument that it should apply equitable tolling

on categorical grounds. More specifically.                     Bah argues that the

court should: (1)         rely on       the     alleged     diligence     of the      named

plaintiff and his counsel rather than on the lack of diligence of

the   putative     plaintiffs;         and   (2)    hold    that   the    time   it   took

putative     plaintiffs         to    receive      notice    was    an    extraordinary

circumstance.


      There is no binding authority that requires or encourages the

court to take this approach. The court understands that the Supreme

Court has emphasized the importance of efficiency in                             putative

plaintiffs receiving notice of §216(b) class actions. Hoffmann-La

Roche Inc. v. Sperling, 110 S. Ct. 482, 486 (1989). However, the

Supreme Court has not said that the standard for the equitable

tolling is different in FLSA cases or suggested that Bah's proposed

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approach   is   permissible.      The   First    Circuit    has    not    addressed

equitable tolling for FLSA class actions.

     A single    concurring      opinion      from   the   Sixth   Circuit     that

provides some support for Bah's argument. Clark v. A&L Homecare &

Training Ctr., LLC, 68 F.4th 1003, 1011 (6th Cir. 2023) (Bush, J.

concurring). Otherwise, the Fifth Circuit appears to be the only

other circuit to have addressed the issue. In Sandoz v. Cingular

Wireless, L.L.C., 700 F. App'x 317, 321 (5th Cir. 2017), the Fifth

Circuit refused     to   apply    equitable     tolling    despite       protracted

litigation, explaining that the proper inquiry is "whether an

external obstacle 'prevented timely filing,' not on whether an

external obstacle prevented timely filing in a specific suit." The

Fifth Circuit further stated that when "an employee's own inaction

relegates opt-in notice from a specific suit as the only means of

discovering an FLSA violation, [it] will not transform routine

litigation into an extraordinary circumstance." Id. at 321.

     Some district courts have applied equitable tolling based on

the time it took a court to issue notice and the named plaintiff's

diligence. See, e.g., Bergman v. Kindred Healthcare, Inc., 949 F.

Supp. 2d 852, 860 (N.D. 111. 2013). Among these, some have found

that the named plaintiff established the requisite diligence by

promptly   filing   a    motion    for       conditional    certification       and

issuance of notice. See, e.g., Klick v. Cenikor Found., 509 F.

Supp. 3d 951, 957 (S.D. Tex. 2020). Other district courts have

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taken a contrary approach. See, e.g., Hinterqerger v. Catholic

Health Sys., 2009 WL 3464134, at *15 (W.D.N.Y. Oct. 21, 2009). In

Alvarez v. BI Inc., 2018 WL 2288286 (E.D. Pa. May 17, 2018), the

court explained:

     in order for a plaintiff "to receive the benefit of
     equitable tolling" for a claim, he or she must have
     exercised [diligence] . . . . And while a potential opt-
     in plaintiff who has not received a court-approved
     notice may have no knowledge of the collective action,
     it cannot be said that a potential plaintiff had no
     knowledge of his or her claim or right to pursue that
     claim, either individually or collectively.
     Tolling the statute of limitations for all potential
     opt-in   plaintiffs, based only on delay in issuing a
     court-approved notice of the collective action, which
     will occur in every collective action, alters the
     statutory scheme and      would be inconsistent with the
     directives of . . . the Supreme Court that equitable
     tolling be applied sparingly . . . . Accordingly, I
     conclude that   Plaintiffs have not met their        burden of
     demonstrating that equitable tolling . . . . However, my
     decision is without prejudice to any individual opt-in
     plaintiff seeking equitable tolling based on that
     individual's circumstances.


Id. at *16-17 (emphasis added).

     Other judges in the      District of    Massachusetts    have,     upon

finding the established equitable tolling standard not satisfied

in FLSA cases, declined to adopt a categorical, non-individualized

approach to equitable tolling. Gardner v. Fallon Health & Life

Ins. Co., Inc., No. CV 4:19-40148-TSH, 2021 WL 4459525, at *6 (D.

Mass. Sept. 29, 2021) (Hillman, J.); Pike v. New Generation Donuts,

LLC, 2016 WL 707361, at *5-6 (D. Mass. Feb. 20, 2016) (Saylor,

J.); O'Donnell v. Robert Half Int'l, Inc., 534 F. Supp. 2d 173,



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182 (D. Mass. 2008) (Gorton, J.); Roberts v. TJX Cos., Inc., 2017

WL 1217114, at *7-8 (D. Mass. Mar. 31, 2017) (Burroughs, J.). In

Tidd V. Adecco USA, Inc., 2008 WL 4286512, at *5 (D. Mass. Sept.

17, 2008) (O'Toole, J.), the court granted a motion to dismiss and

later granted       the   plaintiffs leave to amend to correct their

pleading failures. Id. at *1, *5. The court then conditionally

certified     the   collective    and   permitted   notice   to   be   sent   to

putative plaintiffs. Id. at *5. However, the court refused                    to

categorically grant equitable tolling because:

      The plaintiffs have not alleged any extraordinary
      circumstance to warrant equitable tolling nor have they
      pointed to any wrongdoing by the defendants that would
      justify a tolling order. Indeed, the circumstances of
      this case are not substantially different from other
      FLSA cases, and acceptance of the plaintiffs' argument
      would essentially mean that equitable tolling should
      occur in every FLSA collective action, changing the
      principle of equitable tolling from the exception to the
      norm.



Id.


      There is only one case, Pineda v. Skinner Services, Inc.,

2020 WL 5775160 (D. Mass. Sept. 28, 2020) (Saylor, J.), in which

a   court   in   the   District   of    Massachusetts   applied   tolling     on

somewhat categorial grounds. Id. at *10. However, Pineda was a

unique case in which the court confirmed that it was applying

equitable tolling not because it was legally correct to do so, but

because the lack of clarity in one of its prior oral rulings had




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caused the plaintiffs to reasonably rely on tolling. Id. at *10-

11.


        Consistent with the FLSA decisions of other judges in the

District      of    Massachusetts           and        the    First     Circuit's         general

equitable      tolling         jurisprudence,          this    court    does       not    find    it

appropriate,        at    least       in   the   circumstances          of   this        case,    to

categorically apply equitable tolling.

        First, FLSA class actions are unusual in that the statute of

limitations continues to run against each putative plaintiff until

he or she opts in. See 29 U.S.C. §216(b). The reality in many FLSA

cases    is   that       the    entire     statutory          period    might      pass    before

putative      plaintiffs          receive        court-authorized            notice       of     the

collective      action.         The    Supreme        Court     has    encouraged        district

judges to become involved early in collective action litigation to

minimize      the   risk       of delay in            issuing    notice      as    promptly as

possible. See Hoffmann, 110 S. Ct. at 486. This court did that.

However, even if notice is not sent as quickly as a plaintiff would

like, that alone does not justify disregarding the statutory scheme

that Congress enacted. In addition to providing for notice to

potential      opt-in      plaintiffs.           Congress       included       a    statute      of

limitations in the FLSA. Statutes of limitations often operate to

bar valid claims. Despite this, equitable tolling remains a rare

remedy. Neves, 613 F.3d at 36. Bah's proposed approach would make



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equitable tolling coiranon and disrupt the balance struck by Congress

in enacting the FLSA. See id. That would not be appropriate.

     Second, this court finds that the diligence of the putative

plaintiffs, not the named plaintiff and his counsel, is the proper

focus of the equitable tolling inquiry. In FLSA cases putative

plaintiffs have the option to bring individual suits and are not

bound by a judgment in the collective action unless they opt-in.

Johnson v. VCG Holding Corp., 802 F. Supp. 2d 227, 233 (D. Me.

2011). They can also consent to opt-in to a case before the court

authorizes the sending of notice. Roberts v. TJX Companies, Inc.,

No. 13-CV-13142-ADB, 2017 WL 1217114, at *8 (D. Mass. Mar. 31,

2017) (Burroughs, J.). Bah argues that the overtime issue here is

so complicated that the putative plaintiffs could not have been

expected to have taken any action to pursue their claims, and

therefore their lack of diligence is irrelevant. However, courts

regularly enforce statutes of limitations requiring individuals to

have acted with diligence in a range of complex cases, including

habeas cases, immigration cases, and discrimination cases. See,

e.g.. Neves, 613 F.3d at 37 (immigration case); Kale, 861 F.2d at

756 (discrimination case); Pace, 125 S. Ct. at 1814-1815(habeas

case). The court is not persuaded that FLSA cases in general, or

this case in particular, are so uniquely complex that individual

plaintiffs are absolved of any responsibility for pursuing their

claims diligently.

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       Moreover, even if Bah and his counsel's diligence was the

focus for analysis. Bah was not reasonably diligent. Bah filed the

Motion for Notice on December 21, 2017, the same day that he filed

his initial complaint. Mot. for Not. (Dkt. No. 5). On February 15,

2018, the defendants filed            their     First   Motion   to   Dismiss Bah's

claims against EHI. 1st Mot. to Dismiss (Dkt. No. 24). Without

EHI, there would be no §216(b) collective to certify because the

employees of ERAC Boston are members of a separate class under

Massachusetts state law. Therefore, the court decided to rule on

the First Motion to Dismiss before ruling on the Motion for Notice

and stayed briefing on the Motion for Notice. Mar. 1, 2018 Order

(Dkt. No. 37). On September 17, 2018, the court allowed the First

Motion to Dismiss the claims against EHI because of Bah's defective

pleading and legal theory. Sept. 18, 2018 Order (Dkt. No. 56); see

also Sept. 17, 2018 Tr. at 44:21-49:19 (Dkt. No. 57). The court

then   ruled   that   the   motion   for   notice   was moot since      absent   EHI


there could be no §216(b) collective to certify or give notice of.

See Order (Dkt. No. 56). Bah's counsel stated to the court that

she understood there was no tolling in effect. Sept. 17, 2018 Tr.

at 53:16-55:21 (Dkt. No. 57).

       On October 15, 2018, Bah filed his First Amended Complaint,

attempting     to remedy     his     pleading defects and        maintain   claims

against EHI. 1st Am. Compl. (Dkt. No. 63). Before Bah filed the

First Amended Complaint, the defendants sent his counsel a letter

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warning him that the factual allegations on which he was relying

to assert his claims against EHI were untrue and that including

them in the First Amended Complaint would violate Fed, R. Civ. P.

11. Oct. 1, 2018, Status Report (Dkt. No. 60). Bah failed to heed

this warning. His First Amended Complaint contained the disputed

allegations. On October 28, 2018, the defendants filed their Second

Motion to-Dismiss. 2nd Mot. to Dismiss (Dkt. No. 65).

     The court did not hold a hearing on Second Motion to Dismiss

until February 6, 2020, about 14 months after it was fully briefed.

Prior to the hearing, the longest possible statute of limitations

expired.   Bah   never   filed   a   motion   to   toll   the   statute   of

limitations. He took no action on the issue. Therefore, the court

did not consider tolling further before the limitations period

expired.

     At the February 6, 2020 hearing, rather than finding Rule 11

violations and sanctioning Bah's counsel, the court took the case

under advisement and provided Bah the opportunity to withdraw his

claims against EHI or to amend the First Amended Complaint. Feb.

6, 2020 Order (Dkt. No. 80).

     Bah chose to amend and filed his Second Amended Complaint on

March 16, 2020. 2nd Am. Compl. (Dkt. No. 92). That was about two

and half months after the latest possible statute of limitations

had expired. The defendants filed their Third Motion to Dismiss on

March 30, 2020. 3rd Mot. to Dismiss (Dkt. No. 93). The court denied

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it on November 13, 2020. Nov. 13, 2020 Order (Dkt. No. 103). Bah

again made no request during this time to toll the statute of

limitations. The court later ruled that it would decide conditional


certification before analyzing equitable tolling. Sept. 2, 2021

Order at 8 (Dkt. No. 126). That decision could have had no effect

on   Bah's   decision     not   to   seek     tolling   before     the   statute    of

limitations expired and         while the Second and Third               Motions to

Dismiss were pending.

      As the First Circuit wrote in Neves, equitable tolling is

reserved for circumstances where a litigant has "no fault or lack

of diligence." 613 F.3d at 36. A party should not receive the

benefit of equitable tolling due to its own errors. As a result of

Bah's pleading errors, there was no operative compliant for which

to   authorize   notice    until     after    the   statute   of   limitations     had


passed. It is not sufficient that Bah filed a Motion for Notice at

the outset of the case that was denied as moot.


      Third, looking to the second element of equitable tolling -

extraordinary circumstances - even if some of the time that passed

before notice was sent to the putative plaintiffs in this case was

an extraordinary circumstance, not all of it was. The mere passage

of time is not extraordinary. Unopposed filings and instantaneous

decisions are not to be reasonably expected.                   Judges     have many

cases. Disputed matters require time for argument, analysis, and

decision. Therefore, were the court to toll any time, it would not

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toll the full amount between the filing of a motion and the court

issuing a decision. See Thompson v. Direct Gen. Consumer Prods.,

2014 WL 884494, at *10 (M.D. Tenn. Mar. 5, 2014). The court would

instead consider the time it toolc for the parties to fully brief

the motion or issue and then allocate a reasonable amount of time

for the court to carefully consider and decide it.

     Here, the putative plaintiffs would need the court to toll

954 to 1027 days, if there was a willful violation involving a

three-year statute of limitations, for their claims to be timely.

If the court were to add up all of the time that accrued between

the parties completing briefing and the court issuing its decision

during various phases of this litigation, and during the stay while

Waters v. Day & Zimmerman NPS, Inc., 464 F. Supp. 3d 455 (D. Mass.

2020) was on appeal, there are at mostll9I days to toll. Even if

the court were to toll some of this time, it would toll far less

than the minimum 954 days that plaintiffs would need for any of

their claims to be timely, given the unextraordinary fact that the

court requires time to develop its decisions. This period is not

an "extraordinary circumstance" warranting equitable tolling.

     Fourth, the "absence of prejudice to a party opponent" is a

factor that the First Circuit has said a court may consider within

the Supreme Court's two-part test for equitable tolling. Neves,

613 F.3d at 36 n.5. The court finds that there would be prejudice

to the defendants if the court were to grant the tolling that Bah

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requests.   "Statutes     of   limitations      are    primarily   designed     to

assure   fairness   to    defendants"     and    may    "promote    justice     by

preventing surprises through the revival of claims that have been

allowed to slumber       until evidence has been lost, memories have

faded, and witnesses have disappeared." Burnett v. New York Cent.

R. Co., 85 3. Ct. 1050, 1054 (1965) (internal quotation marks

omitted). The events that gave rise to the litigation in this case

took place seven or more years ago. The defendants could not have

predicted who, if anyone, would ultimately consent to opt in to

this case and try to collect relevant evidence for a nationwide

class.   This   contributes    to   the   conclusions      that    it   would   be

prejudicial to the defendants for the court to apply equitable

tolling.

VI.   CONCLUSION


      In summary, the court recognizes that it is desirable that

notice to putative plaintiffs be issued as soon as reasonably

possible after a FLSA case is filed.             However, when a motion to

give immediate notice is opposed and a motion to dismiss is filed,

it is generally most appropriate for the court to decide the motion

to dismiss before notice is issued because, among other things, if

putative plaintiffs opt into a case that is ultimately dismissed,

they may have been lulled into not bringing their own case, or

opting into another collective action, before the statute of

limitations expired.

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        When this court dismissed Bah's original complaint, there was

no case in which putative plaintiffs could have joined.                    Nor was

there    such   a   case   after   Bah   belatedly   decided   to,    in   effect,

withdraw his First Amended Complaint to avoid the risk of having

Rule 11 sanctions imposed, which he should have long foreseen.

The Second Amended Complaint, which included changes to avert that

risk was filed after the longest possible statute of limitations

had run.    It was only after the court denied the motion to dismiss

the Second Amended complaint that there was finally a case of which

the court could appropriately authorize notice to be given.

     As    explained       earlier,   while   providing   notice     to    putative

plaintiffs is an important feature of the                 FSLA, Congress also

deemed it important to include statutes of limitations in the FLSA,

as it does, in many other statutes.           The Supreme Court and the First

Circuit have developed a clear standard for equitable tolling of

such statutes of limitations. None of the putative plaintiffs have

presented evidence to justify equitable tolling pursuant to that

standard.


     Bah is essentially advocating for a rule and a result that

would often be inconsistent with the balance Congress struck in

incorporating statutes of limitations in the FLSA, require this

court to find that the standard articulated by the Supreme Court

and First Circuit for all other types of cases does not apply in

FLSA cases, and make equitable tolling in many FLSA case the rule

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 rather than the rare exception. This court doubts that it would

 ever be permissible or appropriate for a district court to do that.

       In   any   event,    in   this   case,   where   Bah's   conduct   in   the

 litigation contributed greatly to the passage of time before notice

 was sent, and the form Template Declarations did not even address

 the elements for establishing equitable tolling articulated by the

 First Circuit in cases such as Kale, this court does not find Bah's

 argument for a categorical rule for FLSA cases to be persuasive.

VII.   ORDER


       In view of the foregoing, it is hereby ORDERED that:

       1.      Bah's request for equitable tolling (Dkt. No. 195) is

 DENIED with prejudice. As there are no putative plaintiffs with

 timely claims     who     have consented to opt-in, the conditionally

 certified collective is DECERTIFIED.


       2.    Bah shall, by November 2, 2023, file any motion for the

 court to issue a final judgment pursuant to Fed. R. Civ. P. 54(b)

 and/or grant leave to file an interlocutory appeal concerning this

 decision to deny equitable tolling. EHI and ERAC Boston shall, by

 November 21, 2023, file any reply. The court does not intend to

 grant leave to file a reply or sur-reply.

       3.    The parties may proceed with discovery on the schedule

 they jointly proposed on October 20, 2023 (Diet. No. 210).




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    4.   The parties shall order the transcripts of the October

11 and 12, 2023 hearings.




                                        UNITED STATES DISTRICT ^ )GE




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